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       In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                            No. 14-97V
                                    Filed: September 25, 2014

* * * * * * * * * * * * * * * *                               UNPUBLISHED
ROBERT PETRUCELLI,            *
                              *                               Special Master Gowen
          Petitioner,         *
                              *                               Joint Stipulation on Damages;
v.                            *                               Influenza (“Flu”) Vaccine;
                              *                               Guillain-Barre Syndrome (“GBS”);
SECRETARY OF HEALTH           *
AND HUMAN SERVICES,           *
                              *
          Respondent.         *
                              *
* * * * * * * * * * * * * * * *

Anne C. Toale, Maglio Christopher and Toale, Sarasota, FL, for petitioner.
Gordon E. Shemin, United States Department of Justice, Washington, DC, for respondent.

                           DECISION ON JOINT STIPULATION1

        On February 4, 2014, Robert Petrucelli (“petitioner”) filed a petition pursuant to the
National Vaccine Injury Compensation Program.2 42 U.S.C. §§ 300aa-1 to -34 (2006).
Petitioner alleged that, as a result of receiving an influenza (“flu”) vaccine on or about August
31, 2012, he developed Guillain-Barre Syndrome (“GBS”). Stipulation ¶ 2, 4, filed Sept. 25,
2014. Further, petitioner alleged that he experienced residual effects of his injury for more than
six months. Id. at ¶ 4.
1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this ruling on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116
Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by
Vaccine Rule 18(b), each party has 14 days within which to request redaction “of any
information furnished by that party: (1) that is a trade secret or commercial or financial in
substance and is privileged or confidential; or (2) that includes medical files or similar files, the
disclosure of which would constitute a clearly unwarranted invasion of privacy.” Vaccine Rule
18(b).
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2006) (Vaccine Act or the Act). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.


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        On September 25, 2014, the parties filed a stipulation in which they state that a decision
should be entered awarding compensation. Respondent denies that the flu immunization caused
petitioner’s alleged GBS or any other injury or condition. Id. at ¶ 6. Nevertheless, the parties
agree to the joint stipulation, attached hereto as Appendix A. The undersigned finds the
stipulation reasonable and adopts it as the decision of the Court in awarding damages, on the
terms set forth therein.

       The parties stipulate that petitioner shall receive the following compensation:

       A lump sum of $225,000.00, in the form of a check payable to petitioner, Robert
       Petrucelli. This amount represents compensation for all damages that would be
       available under 42 U.S.C. § 300aa-15(a).

       Id. at ¶ 8.

       The undersigned approves the requested amount for petitioner’s compensation.
Accordingly, an award should be made consistent with the stipulation.

         The clerk of the court SHALL ENTER JUDGMENT in accordance with the terms of
the parties’ stipulation.3

       IT IS SO ORDERED.

                                             s/ Thomas L. Gowen
                                             Thomas L. Gowen
                                             Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.


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